          Case 1:18-cv-03842-CAP Document 3 Filed 09/14/18 Page 1 of 2



                                     AFFIDAVIT OF SERVICE

                               UNITED STATES DISTRICT COURT
                                   Northern District of Georgia

Case Number: 1: 18-CV-3842

Plaintiff:
Angelette Blount
vs.
Defendant:
National Credit Systems, Inc

For:
Christopher Armor
Armor Law
160 Clairemont Avenue
Suite 200
Decatur, GA 30030

Received by Ancillary Legal Corporation on the 15th day of August, 2018 at 3:52 pm to be served on
National Credit systems, Inc c/o CT Corporation, 289 S CulverStreet, Lawrenceville, GA 30349.

I, Christopher Todd Horton, being duly sworn , depose and say that on the 20th day of August, 2018 at
10:38 am, I:

served National Credit systems, Inc c/o CT Corporation by delivering a true copy of the Summons in
a Civil Action, Proof of Service, Civil Cover Sheet, Complaint for Damages and Demand for Jury
Trial to: CT Corporation as Registered Agent, BY LEAVING THE SAME WITH Linda Banks as
Process Specialist at the address of: 289 S CulverStreet, Lawrenceville, GA 30349 .


Additional Information pertaining to this Service:
8/20/2018 10:38 am Perfected corporate service at 289 S CulverStreet, Lawrenceville, GA 30349, by
serving Linda Banks, process specialist.

White female
Gray hair
60-65 years old
5'4" 140 ibs
No glasses
          Case 1:18-cv-03842-CAP Document 3 Filed 09/14/18 Page 2 of 2




                                AFFIDAVIT OF SERVICE For 1:18-CV-3842

I am an agent of Ancillary Legal Corporation and am competent in all respects to testify regarding the
matters set forth herein. I have personal knowledge of the facts stated herein and know them to be true.I
have no interest in the outcome of this action and am not related to any of the parties. I am 18 or more
years of age and am authorized to serve process.




Subscribed and Sworn to before me on the 20th day
of August, 2018 by the affiant who is personally
known to me. -                                                                      Ancillary Legal Corporation
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                                                                                    (404) 459-8006

                                                                                    Our Job Serial Number: ANC-2018003572

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